Case 4:21-cv-00033-ALM Document 18 Filed 04/15/21 Page 1 of 7 PageID #: 599




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

   TIMOTHY JACKSON,             §
       Plaintiff,               §
                                §
  v.                            §        Civil Action No. 4:21-cv-00033
                                §
  LAURA WRIGHT, et. al.,        §
       Defendants.              §
________________________________________________________________

         DEFENDANTS’ OPPOSED MOTION TO STAY DISCOVERY
________________________________________________________________

TO THE HONORABLE JUDGE AMOS L. MAZZANT:

       Defendants ask this Court to stay discovery pending resolution of their motion to dismiss

that raises, among other things, jurisdictional bars including sovereign immunity from suit. See

ECF No. 8 (Motion to Dismiss). As an immunity from suit, not merely from liability, sovereign

immunity protects the Board Defendants 1 from the burden of litigation itself, including the burden

imposed by discovery. Under Fifth Circuit precedent, the Court must first determine that

Plaintiff’s pleadings have asserted facts that, if true, would overcome the Board Defendants’

immunity from suit before issuing a discovery order narrowly tailored to uncover those facts.

Because Plaintiff pleads no facts to overcome the Board Defendants’ sovereign immunity,

discovery is improper and must be stayed. The Court should also exercise its discretion to stay

discovery against the Defamation Defendants. 2 The strength of the Defamation Defendants’



       1
         The Board Defendants are Laura Wright, Milton B. Lee, Melisa Denis, Mary Denny,
Daniel Feehan, A.K. Mago, Carlos Munguia, and G. Brint Ryan, each in their official capacities as
members of the Board of Regents for the University of North Texas (“UNT”) System.
       2
         The Defamation Defendants are Rachel Gain; Ellen Bakulina; Andrew Chung; Diego
 Case 4:21-cv-00033-ALM Document 18 Filed 04/15/21 Page 2 of 7 PageID #: 600




motion to dismiss—including their challenge to the Court’s jurisdiction to entertain Plaintiff’s

claims against them—weighs in favor of a stay. Further, a stay of all discovery is proper to prevent

the Court from having to police discovery that purports to be aimed at the Defamation Defendants

but invades the sovereign interests of the Board Defendants’ and other UNT officials not named

as defendants but entitled to immunity from suit and protection from the burden of discovery.

                                 I. ARGUMENTS AND AUTHORITIES

       District courts have discretion to stay discovery “for good cause shown.” FED. R. CIV.

P. 26(c)(1); accord Landry v. Air Line Pilots Ass’n Int’l AFL-CIO, 901 F.2d 404, 436 (5th Cir.

1990); see generally Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (“[T]he power to stay

proceedings is incidental to the power inherent in every court to control the disposition of the

causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”). It

is proper for a court to defer discovery until it has determined threshold jurisdictional matters that

may dispose of the case. Petrus v. Bowen, 833 F.2d 581, 583 (5th Cir. 1987); Laufer v. Patel, No.

1:20-CV-631-RP, 2021 WL 327704, at *2 (W.D. Tex. Feb. 1, 2021). Relevant factors that inform

the court's discretion are: “(1) the breadth of discovery sought; (2) the burden of responding to

such discovery; and (3) the strength of the dispositive motion filed by the party seeking a stay.” Von

Drake v. Nat’l Broad. Co., No. 3:04-cv-652-R, 2004 WL 1144142, at *1 (N.D. Tex. May 20, 2004).




Cubero; Steven Friedson; Rebecca Dowd Geoffroy-Schwinden; Benjamin Graf; Frank
Heidlberger; Bernardo Illari; Justin Lavacek; Peter Mondelli; Margaret Notley; April L. Prince;
Cathy Ragland; Gillian Robertson; Hendrik Schulze; Vivek Virani; and Brian F. Wright.
                                               2
 Case 4:21-cv-00033-ALM Document 18 Filed 04/15/21 Page 3 of 7 PageID #: 601




       Sovereign immunity (or Eleventh Amendment immunity) 3 is a jurisdictional bar that

presents a threshold issue that must be resolved before discovery can proceed. “The Supreme

Court has emphasized the importance of quickly resolving Eleventh Amendment claims because

‘the value to the States of their Eleventh Amendment immunity . . . is for the most part lost as

litigation proceeds past motion practice.’” McCarthy ex. Rel. Travis v. Hawkins, 381 F.3d 407, 420

(5th Cir. 2004) (citing Puerto Rico Aqueduct & Sewer Auth. Metcalf & Eddy, Inc., 506 U.S. 139, 145

(1993)). Indeed, “until resolution of the threshold question of the application of an immunity

defense, discovery should not be allowed.” Nieto v. San Perlita Indep. Sch. Dist., 894 F.2d 174, 177

(5th Cir. 1990) (quotation omitted); see also Williamson v. U.S. Dep’t of Agric., 815 F.2d 368, 383

(5th Cir. 1987) (stating that district court acted properly in staying discovery pending resolution of

issues of absolute, qualified, and sovereign immunity).

       A “trial court has broad discretion and inherent power to stay discovery until preliminary

questions that may dispose of the case are determined,” Petrus, 833 F.2d at 583, and a motion to

dismiss based on immunity from suit provides a unique context for staying discovery. In this

context, it is an abuse of discretion when a district court does not limit discovery. Patel v. Texas

Tech. Univ., 727 F. App’x 94, 94–95 (5th Cir. 2018). One of the most “salient benefits” of

immunity from suit is “protection from pretrial discovery, which is costly, time-consuming, and

intrusive.” Backe v. LeBlanc, 691 F.3d 645, 648 (5th Cir. 2012). A district court must first find that




       3
          Although often referred to as “Eleventh Amendment immunity” as a convenient
shorthand, the phrase is “something of a misnomer, for the sovereign immunity of the States
neither derives from, nor is limited by, the terms of the Eleventh Amendment.” Alden v. Maine,
527 U.S. 706, 713 (1999).
                                                 3
 Case 4:21-cv-00033-ALM Document 18 Filed 04/15/21 Page 4 of 7 PageID #: 602




a plaintiff’s pleadings assert facts which, if true, would overcome an asserted immunity defense.

“After the district court finds a plaintiff has so pled, if the court remains ‘unable to rule on the

immunity defense without further clarification of the facts,’ it may issue a discovery order

‘narrowly tailored to uncover only those facts needed to rule on the immunity claim.” Id. at 648

(quoting Lion Boulos v. Wilson, 834 F.2d 504, 507–08 (5th Cir. 1987) (emphasis in original)).

       As set forth in the Board Defendants’ motion to dismiss, ECF No. 8 at 13-19, Plaintiff lacks

standing to sue the Board Defendants and sovereign immunity bars his claims against them. He

alleges only past injuries—not ongoing or imminent injuries—traceable to, and redressable by the

Board Defendants. Similarly, he pleads no ongoing violation of federal law committed by the Board

Defendants that would bring his claim within the Ex Parte Young exception of sovereign immunity.

Discovery against the Board Defendants must be stayed. Petrus, 833 F.2d at 583 (appropriate to

stay discovery pending resolution of issue the of standing); Laufer; No. 1:20-CV-631-RP, 2021 WL

327704, at *2 (same); Williamson; 815 F.2d at 383 (proper to stay discovery pending resolution of

issues of absolute, qualified, and sovereign immunity).

       While the Defamation Defendants do not currently raise an immunity defense, the Court

should also stay discovery against them. If the federal claims against the Board Defendants are

dismissed, then the Court certainly lacks a basis to exercise supplemental jurisdiction over the

remaining claims against the Defamation Defendants. ECF No. 18 at 21-22. That “preliminary

question[]” of jurisdiction should be resolved before discovery is permitted in this case. Petrus, 833

F.2d at 583. Further, the strength of the Defamation Defendants’ argument that they engaged in

speech constitutionally protected from defamation liability under Texas law is a question of law


                                                  4
 Case 4:21-cv-00033-ALM Document 18 Filed 04/15/21 Page 5 of 7 PageID #: 603




requiring no discovery that is likely to dispose of the claims against them in their entirety. See id. at

23–27. Further, splitting the baby and requiring discovery to proceed only against the Defamation

Defendants would be impractical. The Court would likely be asked to police discovery requests

that purport to be aimed at the Defamation Defendants but in fact invade the sovereign interests

of the Board Defendants and other UNT officials not named in this lawsuit but who are entitled to

immunity from suit and protection from the burdens of discovery.

        Finally, any argument by Plaintiff that he needs discovery prior to the resolution of

Defendants’ motions to dismiss is meritless. Plaintiff has suggested he needs immediate discovery

to ascertain the possibility of additional defamation claims prior to the expiration of the statute of

limitations at the end of July 2021. ECF No. 7 (Motion for Expedited Discovery). But Plaintiff’s

desire to fish for new claims that are not now part of this case is not a compelling justification for

immediate discovery. Moreover, there is no indication that Defendants’ motions to dismiss will

remain pending by the end of July 2021. Finally, even if it were proper to use discovery in this case

to fish for new claims against nonparties, any alleged time crunch caused by the statute of

limitations is of Plaintiff’s own making because he waited nearly six months to file suit after having

knowledge of all the facts he now alleges warrant immediate discovery.

                                             II.       PRAYER

        For all these reasons Defendants respectfully ask the Court to grant their motion to stay

discovery.




                                                   5
Case 4:21-cv-00033-ALM Document 18 Filed 04/15/21 Page 6 of 7 PageID #: 604




                                   Respectfully submitted,

                                   KEN PAXTON
                                   Attorney General of Texas

                                   BRENT WEBSTER
                                   First Assistant Attorney General

                                   GRANT DORFMAN
                                   Deputy First Assistant Attorney General

                                   SHAWN COWLES
                                   Deputy Attorney General for Civil Litigation

                                   THOMAS A. ALBRIGHT
                                   Chief, General Litigation Division

                                   /s/ Matthew Bohuslav
                                   MATTHEW BOHUSLAV
                                   Texas Bar No. 24069395
                                   Assistant Attorney General
                                   Office of the Attorney General
                                   P.O. Box 12548, Capitol Station
                                   Austin, Texas 78711-2548
                                   Phone: 512-463-2120
                                   Fax: 512-320-0667
                                   matthew.bohuslav@oag.texas.gov
                                   Attorneys for Defendants




                                     6
Case 4:21-cv-00033-ALM Document 18 Filed 04/15/21 Page 7 of 7 PageID #: 605




                            CERTIFICATE OF CONFERENCE

        I certify that I have complied with the meet and confer requirement in Local Rule CV-7(h)
and Plaintiff opposes the relief requested herein. On April 14, 2021, the parties held their Rule
26(f) conference telephonically and I conferred with Plaintiff’s counsel Jonathan F. Mitchell and
Michael Thad Allen regarding Defendants’ motion to stay discovery and motion for protective
order. Plaintiff’s counsel did not believe a stay was warranted for the reasons set forth in their
response to Defendants’ motion to dismiss. They also reiterated Plaintiff’s desire to conduct
discovery to uncover new defamation claims and defendants before the expiration of the statute of
limitations. The discussions have conclusively ended in an impasse, leaving an open issue for the
court to resolve.

                                             /s/ Matthew Bohuslav
                                             MATTHEW BOHUSLAV
                                             Assistant Attorney General



                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of April, 2021, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which automatically provided
notice to the following CM/ECF participants:

Jonathan F. Mitchell
Mitchell Law, PLLC
111 Congress Avenue, Suite 400
Austin, Texas 78701
jonathan@mitchell.law

Michael Thad Allen, Esq.
Allen Law, LLC
PO BOX 404
Quaker Hill, CT 06375
m.allen@allen-lawfirm.com
Attorneys for Plaintiff

                                              /s/ Matthew Bohuslav
                                              MATTHEW BOHUSLAV
                                              Assistant Attorney General



                                                7
